       Case 1:24-cv-00648-AA                   Document 33               Filed 08/12/24             Page 1 of 2
                                             FILED'24 AUG 12 9 :561.JSDC-ORll




                           UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF '-lo_RE_G_o_N
                                ____________                                                                   _____j



              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court

U.S. District Court case number: I_:-,_2_4_c_v_0_06_4_8_ _ _ _ _ _ _ _ _ _ ___,
                                             Lj




      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: /04/16/2024

Date of judgment or order you are appealing: I08/09/2024
                                                                .-----'============:
                                                                ~------=======:
Dock~t entry number of judgment or order you are appealing: 3_2_an_d_3_I_ _ _             '--j                    _J



Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
<o: Yes    r No            r IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use ""et al." or other abbreviations.)
Arnaud Paris




Is this a cross-appeal?        r Yes         ee No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                   r Yes Ce No
                                                              --------------
If yes, what is the prior appeal case number?
Your mailing address (if pro se):
113 rue Ferdinand Duval



      I
City: Paris                                  I State: IFrance I Zip Code: 175004

Prisoner Inmate or_,,A,Null!~er (if applicable):
                     --~   /   ./,'

Signature I ..;;;~:~1-;'.~~~:-~
              /
                                •                                       I Date c_
                                                                               I08/12/2024
                                                                                 _______                       ___J


     Complete andjile with the attached represe111atio11 statement in the U.S. District Court
                    Feedback or questions about this form? Email us at fimns(iiicq9 uscourt£, gov

Forml                                                                                               Rev. 06/09/2022
       Case 1:24-cv-00648-AA                Document 33             Filed 08/12/24           Page 2 of 2




                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                            Form 6. Representation Statement
      lnstmctions for this form: http://wmv.ca9.uscourts.govlformslform06ins/J11ctio IIS.Qd(
Appellant(s) (List each party filing the appeal, do not use "et al. " or other abbreviations.)
Name s of        / arties:
Arnaud Paris



Name s of counsel if an




Address: 113 rue Ferdinand Duval, 75004, Paris, FRANCE
                                                                                                              I
Telephone number(s): 1+33 6 88 28 3641
                                                                                                              I
Email(s): laparis@sysmicfilms.com
                                                                                                           I
Is counsel registered for Electronic Filing in the 9th Circuit?                       r Yes r No
Appellee(s) (List only the names ofparties and counsel who will oppose you on aJJ.'Peal. List
separately represented parties separately.)
Name s of a / arties:
Heidi Marie Brown


Names of counsel ifan
Katelyn D. Skinner
Katrina Anne Seipel


           I
Address: 5300 Meadows Road, Ste. 200, Lake Oswego, Oregon 97035                                            I
                           I
Telephone number(s): 503-620-8900                                                                          I
Email(s): lkds@Buckley-law.com; kas@buckley-law.com
                                                                                                           I
To list additional parties and/or counsel, use next page.
                   Feedback or questions about this fonn? Email us at~ c a 9 uscow·ts. gov

Form6                                                1                                       New 12/01/2018
